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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

OPPENHEIMER & CO. lNC., Case No.:
Plaintiff,
- against - COMPLAINT

DOCULYNX, INC., as successor~in~interest to
ANACOMP, lNC.,

Defendant.

 

 

Oppenheimer & Co. Inc. (“Oppenheimer”) by and through its attorneys, Satterlee
Stephens LLP, as and for its Complaint against Defendant DocuLynX, lnc., as successor-in-
interest to Anacomp, lnc. (“DocuLynx”), alleges as follows:

PRELIMINARY STATEMENT

l. This action arises out of DocuLynx’s material breach of a September 15, 2017
Settlement Agreement (the “Settlement Agreement”) entered into between Oppenheimer and
DocuLynx Which resolved a prior litigation between the parties before this Court titled,
Oppenheimer & C0. Inc. v. DocuLynx, lnc., as successor-in-interesl to Anacomp, ]nc., Case No.:
l7-CV~05940 (SHS) (the “Underlying Action”).

2. The Underlying Action Was commenced by Oppenheimer as a result of
DocuLynX’s breach of its vvr'itten agreements With Oppenheimer as set forth more fully beloW.
3. _In resolving the Underlying Action, the Settlement Agreement required
DocuLynx, among other things, to secure a performance bond Which provides that in the event
that DocuLynX cease providing services to Oppenheimer for any reason, Oppenheimer Would

immediately be entitled to a prorated refund of any annual payment made to DocuLynX by

Oppenheimer under the Settlernent Agreement.

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4. As set forth below, DocuLynx has materially breached the Settlement Agreement
by, among other things, failing to obtain the required performance bond. As expressly provided
within the Settlement Agreement, DocuLynx’s breach has already caused and will continue to
cause Oppenheimer to suffer irreparable harm.

PARTIES

5. Plaintiff Oppenheimer is a corporation organized and existing pursuant to the
laws of the State of New York and maintains its principal place of business at 85 Broad Street,
New York, New York 10004.

6. Upon information and belief, Defendant DocuLynx is a corporation organized and
existing pursuant to the laws of the State of Nebraska and maintains its principal place of

business at 6916 N. 97th Circle, Omaha, Nebraska 68122.

 

JURISDICTION AND VENUE
7. This Court has jurisdiction over Defendant DocuLynx pursuant to 28 U.S.C. §
1332.
8. This Court also has jurisdiction over Defendant DocuLynx pursuant to the terms

of the Settlement Agreement, which provides in pertinent part, “Any action brought to enforce
the terms of this Settlement Agreement shall be brought exclusively before the state or federal
courts located within the State of New York and the Parties hereby consent to the jurisdiction of
the same.”

9. Venue in this District is proper pursuant to 28 U.S.C. § 1391(b)(2) and pursuant

to the terms of the Settlement Agreement as outlined above.

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BACKGROUND
Oppenheimer’s Relationship With DocuLynx

lO. Oppenheimer is a Securities and Exchange Commission (“SEC”) and Financial
Industry Regulatory Authority, lnc. (“FINRA”) regulated broker/dealer. As such, Oppenheimer
is subject to regulations regarding the preservation of confidential documents regarding
Oppenheimer’s customers, including, but not limited to, SEC Rule l'7a-4.

ll. Defendant DocuLynx is a data imaging vendor that serves as an information
management, information governance, and records management solutions provider.

l2. ln or about December of 2000, Oppenheimer began utilizing DocuLynx (through
its predecessor, Anacomp, lnc. (“Anacornp”)) as its data imaging vendor. Under the parties’
agreement, Oppenheimer would deliver certain confidential records regarding Oppenheimer’s
customers (the “Oppenheimer Property”) to Anacomp (and subsequently DocuLynx), which
would in turn image the hardcopy documents and store the resulting data.

l3. On or about December 4, 2000, Oppenheimer and Anacomp entered into a Master
Agreement for Data lmaging Service (the “Master Agreement”).l A copy of the Master
Agreement is annexed hereto as Exhibit A.

14. The Master Agreement provided that Anacomp would be the exclusive data
imaging provider for Oppenheimer during the contract term. See Master Agreement, Exhibit A
annexed hereto at jj l.

l5. The Master Agreement also contained a “Confldentiality” section which provided
that:

Anacomp will utilize commercially reasonable efforts in
safeguarding [Oppenheimer’s] information and data. Anacomp

 

1 The Master Agreement was entered into by Oppenheimer’s predecessor, Fahnestock & Company, lnc.

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agrees not to divulge or disclose to third parties, or make any use
Whatsoever, of [Oppenheimer’sj information and data provided to
Anacomp unless required by law. Anacomp shall be liable to
[Oppenheimer] for a negligent or willful breach of the foregoing
obligation. '
la’. at jj 6.
16. The Master Agreement also contained a “Default” section which provided that:
If either party is in material default under this Agreement and such
default continues for thirty (3 O) days after written notice thereof by
the other party, then this Agreement may thereupon be terminated
by such other party; provided however, that if [Oppenheimerj fails
to pay any amount promptly when due, Anacomp. . .may at
its election and without notice: (i) terminate this Agreement;
(ii) suspend performance of this Agreement until the invoice is
paid; and/or (iii) declare any unpaid balances immediately due.
Ia’. at jj 9.
l7. Notably, nothing in the “Default” section of the Master Agreement, or any other
section of the Master Agreement, or any other written agreement between the parties (including
the subsequent Settlement Agreement) authorizes DocuLynx to refuse to return Oppenheimer
Property upon demand from Oppenheimer. Quite the opposite, DocuLynx’s subsequent
agreement with Oppenheimer`expressly provides that in the event of a termination, DocuLynx
will unconditionally return all Oppenheimer Property.
18. In August 2010, Oppenheimer and Anacomp entered into an “Arnendment to
Master Agreement for Data lmaging Services” (the “Amended Agreement”). A copy of the
Amended Agreement is annexed hereto as Exhibit B. -
l9. The Amended Agreement provided that the term of the parties’ Master

Agreement (which previously had been renewed on an annual basis) would terminate on July 31,

2011. See Amended Agreement, Exhibit B annexed hereto.

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20. The Amended Agreement also clearly provided that:

Upon any termination whatsoever, the Company shall
terminate the provision of any products and/or services
and return all images, data and reports that were provided
pursuant to the [Master Agreement] to [Oppenheimer]
without any “deconversion fees ” (as such concept is
commonly understood) or liability of any kind.

See Amended Agreement, Exhibit B annexed hereto (emphasis added).

21. Following the expiration of the Amended Agreement on July 1, 2011, DocuLynx
continued to provide services under the Master Agreement and the Amended Agreement to
Oppenheimer on a month-to-month basis. To this end, DocuLynx invoiced Oppenheimer for
services on a monthly basis and Oppenheimer paid said invoices.

22. The month-to~month provision of services by DocuLynx and payment of invoices
by Oppenheimer continued without objection by either party until in or about the Spring of 2017,
when DocuLynx advised Oppenheimer that it desired to change its pricing arrangement with
~ Oppenheimer (under which the parties had operated for over seventeen years). To this end,
DocuLynx offered Oppenheimer a proposal which provided for services under an annual license
fee of $806,000. Oppenheimer declined the DocuLynx proposal, and DocuLynx continued to
provide services to Oppenheimer through the Spring and into the Summer of 2017 at the
previously agreed fee.

23. On July 27, 2017, J im McDonald, DocuLynx’s Senior Vice President of
Professional Services, sent an email to Oppenheimer taking the position that the parties’
agreement had terminated effective July 1, 2017, and that if Oppenheimer desired to proceed on
an annual license basis, the cost would be $806,000 annually. l\/Ir. McDonald further warned

that, absent payment in the sum of $806,000 (for a prospective 1 year license) by August 4,

2017, ()ppenheirner’s access to the software may be suspended
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24. Oppenheimer responded to Mr. McDonald’s email and advised DocuLynx that
Oppenheimer did not intend to renew its agreement under the terms proposed by DocuLynx.
Oppenheimer further reminded DocuLynx of the provision within the Amended Agreement
whereby DocuLynx was required to return all Oppenheimer Property, upon termination of the
agreement

25. Over the next several days, Oppenheimer, on multiple occasions, demanded that
DocuLynx immediately return all Oppenheimer Property, as it was expressly obligated to do
under the Amended Agreement Indeed, during one such telephone call between Oppenheimer
and DocuLynx, l\/lr. l\/[cDonald acknowledged DocuLynx’s obligation to immediately return the
Oppenheimer Property.

26. Despite the above referenced communications and acknowledgment by
DocuLynx, DocuLynx refused to return Oppenheimer’s Property. Even more egregious,
DocuLynx openly and in writing attempted to blackmail Oppenheimer into entering into a new
lucrative contract with DocuLynx by utilizing the Oppenheimer Property which it is holding
hostage, as well as the potential regulatory ramifications which Oppenheimer faces as a result of
DocuLynx refusal to return the Oppenheimer Property, as leverage
The Underlying Action

27. As a result of the above described conduct by DocuLynx in breach of its
agreements with Oppenheimer, Oppenheimer was forced to commence the Underlying Action.
The Underlying Action was commenced by Oppenheimer in the Supreme Court of the State of
New York, County of New York. Subsequently, DocuLynx removed the Underlying Action to
the United States District Court for the Southern District of New York. A copy of the Complaint

in the Underlying Action is annexed hereto as Exhibit C.

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28. ln short, the Underlying Complaint alleged that DocuLynx had breached its
agreements with Oppenheimer by refusing to return the Oppenheimer Property, which the
agreements unequivocally provided that Gppenheimer was entitled to.

29. Subsequent to filing its Complaint in the Underlying Action, Oppenheimer moved
the Court for a Temporary Restraining Order and Preliminary lnjunction, directing, among other
things, that DocuLynx immediately return the Oppenheimer Property.

30. Throughout the litigation of the Underlying Action, DocuLynx never once
disputed that the Oppenheimer Property belonged-exclusively to Oppenheimer or that
Oppenheimer was entitled to the return of its Property.

The Settlement Agreement

31. On September 15, 2017, prior to argument on Oppenheimer’s motion for a
Preliminary Injunction, the parties resolved the Underlying Action. A copy of the Settlement
Agreement is annexed hereto as Exhibit D.

32. Within the Settlement Agreement, DocuLynx acknowledged that Oppenheimer
had no obligation to make any payment to DocuLynx other than the payments referenced within
the Settlement Agreement, including, but not limited to, the sums of money which DocuLynx
had attempted to extort from Oppenheimer by refusing to return the Oppenheimer Property. See
Settlement Agreement, Exhibit D annexed hereto at jj 2.

33. The Settlement Agreement also provided that DocuLynx would continue
providing certain services to Oppenheimer over a period of seven (7) years following the
execution of the Settlement Agreement Specifically, while Oppenheimer would cease providing
new data to DocuLynx for imaging, DocuLynx would continue to store the Oppenheimer

Property currently in its possession for a period of seven (7) years (as required by applicable

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regulation) and grant Oppenheimer a license to utilize DocuLynx’s software in order to have
access to the Oppenheimer Property. Id. at jj 3-6. 1n other words, DocuLynx would continue to
provide the same storage services and software license that it provided to Oppenheimer over the
past 17 years, but would not be required to accept new data from Gppenheimer for imaging and
storage.
34. With regard to the Oppenheimer Property (referred to in the agreement as the
“Oppenheimer Data”`), the Settlement Agreement provides:
DocuLynx acknowledges that the ()ppenheimer Data
belongs solely to Oppenheimer and that DocuLynx
has no ownership interest in the Oppenheimer Data
or right to possess the Oppenheimer Data, other than
for the purposes of providing the above described
services to Oppenheimer.

Ia'. at jj 7.

35. In exchange for storing the Oppenheimer Property for a period of seven (7) years,
as well as the license to the software, Oppenheimer agreed to pay DocuLynx the total sum of
$1,386,000.00 in seven (7) annual installments of $198,000.00 (each an “Annual Installrnent”).
Ia’. at jj 13-14.

36. However, prior to being entitled to receive any Annual lnstallment, the Settlement
Agreement provides that DocuLynx was required to comply with two separate and distinct
conditions precedent

37. First, the Settlement Agreement required DocuLynx to deposit the Oppenheimer
Property (i.e. the Oppenheimer Data) with a third-party escrow agent (the “Escrow Agent”) at
the sole cost of DocuLynx. Ia'. at jj 8-9.

38. The purpose of the Escrow Agent was to ensure that, in the event that DocuLynx

should cease providing services to Oppenheimer under the Settlement Agreement, Oppenheimer

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would immediately be able to recover the Oppenheimer Property. In other words, the Escrow
Agent would ensure that the circumstances which gave rise to the Underlying Action would not
occur yet again. To this end, the Settlement Agreement provides:

DocuLynx acknowledges that, in the event that DocuLynx

and the escrow agent shall cease providing services to

Oppenheimer, Oppenheimer shall immediately be entitled

to the return of the Oppenheimer Data from the Escrow

Agent in the same format as the Oppenheimer Data was

originally provided to DocuLynx, irrespective of any

claims by DocuLynx against Oppenheimer.
Ia’. at jj 10.

39. As such, like the Master Agreement and Amended Agreement underlying the
parties’ original business relationship, the Settlement Agreement made clear that under no
circumstances (including failure by Oppenheimer to make payment) could DocuLynx or the
Escrow Agent refuse to return the Oppenheimer Property.

40. lndeed, the Settlement Agreement further makes clear that any such refusal to
return the Oppenheimer Property would cause Oppenheimer to suffer irreparable harm and
entitle Oppenheimer to injunctive relief. Ia’. at jj 11.

41. The second condition precedent that DocuLynx was required to meet prior to
being entitled to payment of an Annual lnstallment was the procurement of a performance bond.
To this end, the Settlement Agreement provides:

Prior to being entitled to receive any Annual lnstallment,
DocuLynx shall provide Oppenheimer with written
confirmation that DocuLynx’s performance under said
Annual Installment has been fully bonded and that should
DocuLynx cease providing services to Oppenheimer for
any reason, Oppenheimer shall immediately be entitled
to the return of the prorated portion of the respective

Ann ual Installment. ..

Ia'. atjj 15 (emphasis added).

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42. ln other words, the performance bond ensures that in the event that Oppenheimer
paid DocuLynx for a year of performance and DocuLynx ceased providing services prior to the
expiration of that year, Oppenheimer would not only be entitled to get its property back, but
Oppenheimer would also receive, via the performance bond, the prorated portion of the Annual
lnstallment which Oppenheimer paid, but which DocuLynx did not earn.

43. This protection afforded by the performance bond was necessary solely as a
result of DocuLynx’s insistence that the Settlement Agreement provide for annual licensing fees,
as opposed to the monthly fees which Oppenheimer had paid to DocuLynx over the past
seventeen years of their relationship l
DocuLvnx’s Material Breach of the Settlement Agreement

44. F or several weeks after the execution of the Settlement Agreement and the
discontinuance of the Underlying Action, Oppenheimer awaited receipt of the performance bond
which DocuLynx was required to obtain, so that Oppenheimer could make payment to
DocuLynx and gain access to its customer data, which had now been held hostage for months by v
DocuLynx.

45. During this time period, DocuLynx reported on numerous occasions that it was
allegedly having difficulty obtaining the bond.

46.' On or about November 9, 2017, DocuLynx provided Oppenheimer with a copy of
an “Annually Renewable Performance Bond” issued by Sompo International (the “DocuLynx
Bond”) a copy of which annexed hereto as Exhibit E.

47. The DocuLynx Bond does not comply with the terms of the Settlement
Agreement (which is specifically referenced within the DocuLynx Bond itself). To this end, the

DocuLynx Bond provides:
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In the event of default by [DocuLynxj, [Oppenheimer] shall
deliver to Surety by certified mail, a written statement of the
facts of such default. . .ln the event of default, the Surety
will have the right and opportunity, at its sole discretion,
to: a) cure the default; b) assume the remainder of the
Agreement and to perform or sublet same; c) or to
tender to [Oppenheimer] funds sufficient to pay the
cost of completion less the balance of the Agreement
price up to an amount not to exceed the penal sum of
the bond.

See DocuLynx Bond, Exhibit E annexed hereto at jj 3.

48. The DocuLynx Bond does not comply with the terms of the Settlement
Agreement`, as it does not unconditionally provide that in the event that DocuLynx should cease
providing services to Oppenheimer, Oppenheimer will immediately be entitled to recover the
prorated unearned portion of the respective Annual lnstallment paid to DocuLynx under the
Settlement Agreement

49. On November 15, 2017, pursuant to the terms of the Settlement Agreement,
Oppenheimer provided DocuLynx with notice of its material breach of the Settlement Agreement
and demanded that DocuLynx cure said breach within ten (10) days. A copy of the November
15, 2017 notice of default is annexed.hereto as Exhibit F.

50. Despite due notice, DocuLynx has failed to cure its material breach by procuring
a performance bond that is in compliance with the terms of the Settlement Agreement.

51. The Settlement Agreement provides that, in the event that DocuLynx should fail
to cure any material breach of the Settlement Agreement within ten (10) days of notice of the
breach, Gppenheimer shall be entitled to recover its costs associated with any successful action

to enforce the terms of the Settlement Agreement, including but not limited to reasonable

attorneys’ fees. See Settlement Agreement, Exhibit D annexed hereto at jj 17.

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52. Oppenheimer has been damaged, including suffering irreparable harm, as a result
of DocuLynx’s breach of the Settlement Agreement.
CAUSES OF ACTION

COUNT I
(Breach of Contract[

53. Oppenheimer repeats and realleges each and every allegation set forth within
Paragraphs 1 through 52 of this Complaint as if set forth in full herein.

54. Pursuant to the Settlement Agreement, prior to receiving any Annual lnstallment,
DocuLynx was required to obtain a performance bond which provides that in the event that
DocuLynx should cease providing services to Oppenheimer, Oppenheimer would immediately
be entitled to a refund of the prorated unearned portion of the Annual Installment.

55. Oppenheimer has performed its obligations under the Settlement Agreement.

56. DocuLynx has materially breached the Settlement Agreement by, among other
things: (i) failing to obtain the required performance bond; and (ii) refusing to return the
Oppenheimer Property,

57. Oppenheimer has been damaged as a result of DocuLynx’s breach of the
Settlement Agreement in an amount to be determined at trial, but no less than $100,000.

C()UNT II
gConversion)

58. Oppenheimer repeats and realleges each and every allegation set forth within
Paragraphs 1 through 57 of the Complaint as if set forth in full herein.
59. DocuLynx has wrongfully refused to return the Oppenheimer Property, to which

it has no legal entitlement, and has therefore wrongfully converted the property of Oppenheimer.

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60. `As a result of Defendant DocuLynx’s wrongful conversion of the Oppenheimer

Property, Oppenheimer has been damaged in an amount to be determined at trial, but no less than

$100,000.
COUNT III
§Replevin[
61. Oppenheimer repeats and realleges each and every allegation set forth within

Paragraphs 1 through 60 of the Complaint as if set forth in full herein.

62. Oppenheimer is the true and sole owner of the Oppenheimer Property.

63. DocuLynx has improperly and unlawfully retained possession of the
Oppenheimer Property without the consent of Oppenheimer.

64. 4 Oppenheimer is entitled to regain possession of the Oppenheimer Property.

WHEREFORE, Plaintiff Oppenheimer & Co. lnc. demands judgement against Defendant
DocuLynx, Inc., as successor-in-interest to Anacomp, lnc. as follows:

(i) Ordering Defendant DocuLynx to immediately return the
Oppenheimer Property to Plaintiff Oppenheimer;

(ii) On Plaintiffs First Count against Defendant DocuLynx for Breach
of Contract for an amount to be determined at trial, but no less than
$100,000;

(iii) On Plaintiff s Second Count against Defendant for Conversion for
an amount to be determined at trial, but no less than $100,000;

(iv) On Plaintiff’ s Third Count against Defendant for Replevin for an
Order directing DocuLynx to immediately return the Oppenheimer
Property as provided within the Settlement Agreement;

(v) Awarding Plaintiff recovery of its costs associated with this action,
including but not limited to reasonable attorneys’ fees; and

(vi) Awarding Plaintiff such further relief as this Court deems just and
proper.

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Dated: New York, New York

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January 9, 2018

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